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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

H-D U.S.A., LLC,
                                                    Case No. 19-cv-00739
               Plaintiff,
                                                    Judge Gary Feinerman
v.
                                                    Magistrate Judge Susan E. Cox
YIWU JUNNUO JEWELRY CO., LTD., et al.,
               Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on April 30, 2019 [48], in favor

of H-D U.S.A., LLC (“Harley-Davidson” or “Plaintiff”) and against the Defendants Identified in

Schedule A in the amount of two hundred thousand dollars ($200,000) per Defaulting Defendant,

and Harley-Davidson acknowledges payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendant:

               Defendant Name                                         Line No.
                 linping1907                                             86

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 17th day of January 2020.   Respectfully submitted,


                                       /s/ RiKaleigh C. Johnson
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                                       Justin R. Gaudio
                                       RiKaleigh C. Johnson
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